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        Exhibit 4
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                                                                                  Northeast Case Management Center
                                                                                               1301 Atwood Avenue
                                                                                                         Suite 211N
                                                                                                 Johnston, RI 02919
                                                                                          Telephone: (866)293-4053
                                                                                                 Fax: (866)644-0234


June 28, 2023

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Case Number: 01-22-0005-2750

Hope Murnaghan
-vs-
Virtual Gaming Worlds and VGW Holdings, LTD.

Dear Parties:

This confirms the appointment of James E Purcell as arbitrator in this matter.

As requested by the arbitrator, if either party or their counsel knows of any contact or conflict that may be
relevant, they are to communicate this information to the American Arbitration Association (AAA)
immediately.

As of this date, the AAA has not received the $1400 payment for the Case Management Fee. As a reminder,
payment or the courtesy of a response is due no later than July 5, 2023. Please be reminded that the business’
failure to pay this fee and deposit may result in the arbitrator suspending the proceedings.

Once payment is received, we will proceed with scheduling the telephonic Preliminary Management Hearing.

A copy of this correspondence has been provided to the arbitrator.

Sincerely,
/s/
Rhonda Perrotta, Case Assistant, on behalf of, Deanna Mollo
Case Administrator
Direct Dial: (401)431-4744
Email: deannamollo@adr.org
Fax: (866)644-0234

Supervisor Information: Kyle Rodriguez, rodriguezk@adr.org
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cc:
Rachel Miller, Esq.
Sarah Shyy, Esq.
Ayala Magder
Richard Jacobsen, Esq.
Gregory Beaman, Esq.
Indira Kinsella
